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 6   JANE DOE
 7                          UNITED STATES DISTRICT COURT
 8
                        CENTRAL DISTRICT OF CALIFORNIA
 9
     JANE DOE, an individual,               )       Case No. 2:19-cv-1005-AB-KS
10                                          )
                                            )
11                       Plaintiff,         )       JOINT RULE 26(f) REPORT
          vs.                               )
12                                          )       District Judge: Hon. Andre Birotte Jr.
     CALIFORNIA INSTITUTE OF                )
13   TECHNOLOGY, a California               )       Date: May 24, 2019
                                                    Time: 10:00 a.m.
14   Corporation; JOHN DOE, an individual; ))
     KEVIN GILMARTIN, an individual;        )
15                                          )
     and DOES 1 through 100, inclusive,
                                            )
16                                          )
                         Defendants.        )
17
     _________________________________))
18   JOHN DOE, an individual,               )
19                     Counter Claimant, ))
           vs.                              )
20                                          )
21
                                            )
     JANE DOE, an individual,               )
22                     Counter Defendant, )
     _________________________________))
23   JOHN DOE, an individual,               )
24                      Cross-Claimant, ))
            vs.                             )
25                                          )
     CALIFORNIA INSTITUTE OF
26                                          )
     TECHNOLOGY, a California               )
27   Corporation,                           )
                         Cross-Defendant. ))
28
     _________________________________)
                                                1
                                JOINT RULE 26(f) REPORT
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